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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 DAVID CODREA,
                      et al.


                    Plaintiffs,                     Case No. 1:18-cv-03086-DLF
                                                    The Hon. Judge Friedrich
        v.

 BUREAU OF ALCOHOL, TOBACCO
 FIREARMS, AND EXPLOSIVES,
                et al.


                    Defendants.



                                  JOINT STATUS REPORT

       Pursuant to this Court’s February 14, 2019 Minute Order instructing the parties to

file a joint status report regarding the impact of the confirmation as Attorney General of

William P. Barr on the pending motion in this case, the parties hereby state as follows:

1) Plaintiffs have moved for a preliminary injunction in part on the basis of Acting

   Attorney General Whitaker’s designation, and in part on other grounds.

2) The parties agree that, as to the other grounds on which a preliminary injunction has

   been sought, the confirmation of Attorney General Barr has no effect.

3) As to the portion of the motion based on Acting Attorney General Whitaker’s

   designation, the parties agree that the confirmation of Attorney General Barr does not

   presently affect Plaintiffs’ motion.
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4) If Attorney General Barr were to take further action related to the Final Rule, such as

   ratifying or re-issuing it, the parties reserve their rights to take an appropriate position

   regarding the effect of any such action on the pending motion at that time.



Dated: February 15, 2019                       Respectfully submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               JOHN R. TYLER
                                               Assistant Branch Director


                                               /s/
                                               ERIC J. SOSKIN (PA Bar #200663)
                                               Senior Trial Counsel
                                               Federal Programs Branch
                                               U.S. Department of Justice, Civil Division
                                               1100 L Street, NW Rm. 12002
                                               Washington, DC 20530
                                               Telephone: (202) 353-0533
                                               Fax: (202) 616-8470
                                               Email: Eric.Soskin@usdoj.gov
                                               Counsel for Defendants

                                               /s/ Stephen D. Stamboulieh
                                               Stephen D. Stamboulieh
                                               Stamboulieh Law, PLLC
                                               P.O. Box 4008
                                               Madison, MS 39130
                                               (601) 852-3440
                                               stephen@sdslaw.us
                                               DC District Court Bar# MS0009

                                               Alan Alexander Beck
                                               Law Office of Alan Beck
                                               2692 Harcourt Drive
                                               San Diego, CA 92123
                                               (619) 905-9105
                                               Alan.alexander.beck@gmail.com
                                               DC District Court Bar# HI001
                                               Counsel for Plaintiffs


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